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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION


  APRIL PARCHMAN as administrator ad
  litem of the estate of Jeffrey Parchman,
  deceased, individually and on behalf of all
  others similarly situated, and ANN
  PARCHMAN, individually and on behalf of
  all others similarly situated,
                                                    No. 2:15-cv-02819-JTF-cgc
                         Plaintiffs,

  v.

  SLM CORPORATION, NAVIENT
  CORPORATION, NAVIENT SOLUTIONS,
  INC. f/k/a Sallie Mae, Inc., and SALLIE
  MAE BANK,



  DEFENDANTS’ NOTICE OF APPEARANCE RE CHANGE OF FIRM AND ADDRESS
                        OF LISA M. SIMONETTI
         TO THE COURT, ALL PARTIES, AND TO THEIR ATTORNEYS OF RECORD:
         PLEASE TAKE NOTICE that Lisa M. Simonetti of Greenberg Traurig, LLP, hereby

 appears as counsel of record on behalf of all defendants and requests that copies of all notices,

 motions and other filings be directed to the following address:

             Lisa M. Simonetti
             Email: SimonettiL@gtlaw.com
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             1840 Century Park East, Suite 1900
             Los Angeles, CA 90067
             Phone: (310) 586-7700
             Facsimile: (310) 586-7800

 Dated: February 28, 2019                      Respectfully submitted,

                                               By:/s/ Lisa M. Simonetti
                                                       Lisa Simonetti
                                                       GREENBERG TRAURIG, LLP
                                                       Email: SimonettiL@gtlaw.com

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on February 28, 2019 I electronically filed the foregoing with the

 Clerk of the Court using the CM/ECF system



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